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 4

 5
     Attorney for Defendant
     JORDAN WIRTZ
 6
                             IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
 7

 8

     UNITED STATES OF AMERICA,                       )       No. CR-S-11-226 GEB
 9
                                                     )
                                                     )
10          Plaintiff,                               )       STIPULATION AND
                                                     )       [PROPOSED ORDER] CONTINUING
11
     v.                                              )       STATUS CONFERENCE
                                                     )
12
     PATRICIA ALBRIGHT, and                          )
                                                     )       Date: December 2, 2011
13   JORDAN WIRTZ,                                   )       Time: 9:00 a.m.
                                                     )       Judge: Honorable Garland E. Burrell, Jr.
14
            Defendants.                              )
                                                     )
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                                                     )
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17
            IT IS HEREBY stipulated between the United States of America through its undersigned

18
     counsel, Michael M. Beckwith, Assistant United States Attorney, together with counsel for

19
     defendant Patricia Albright, Timothy Zindel, Esq., and counsel for defendant Jordan Wirtz, John

20
     R. Manning, Esq., that the status conference presently set for October 21, 2011 be continued to

21
     December 2, 2011, at 9:00 a.m., thus vacating the presently set status conference.

22
            Further, all of the parties, the United States of America and all of the defendants as stated

23
     above, hereby agree and stipulate that the ends of justice served by the granting of such a

24
     continuance outweigh the best interests of the public and the defendants in a speedy trial and that

25
     time under the Speedy Trial Act should therefore be excluded under Title 18, United States Code

26
     Section 3161(h)(7)(A) and (B)(ii) and (iv) and Local Code T-4 (to allow defense counsel time to

27
     prepare) from the date of the parties stipulation, October 20, 2011, to and including December 2,

28
     2011. The defense requests more time to review the discovery and conduct investigation.



                                                         1
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 1   IT IS SO STIPULATED.
 2
     Dated: October 20, 2011                          /s/ Timothy Zindel
 3                                                    TIMOTHY ZINDEL
                                                      Attorney for Defendant
 4                                                    Patricia Albright
 5
     Dated: October 20, 2011                           /s/ John R. Manning
 6                                                    JOHN R. MANNING
                                                      Attorney for Defendant
 7                                                    Jordan Wirtz
 8

 9   Dated: October 20, 2011                          Benjamin B. Wagner
                                                      United States Attorney
10

11
                                                by:   /s/ Michael M. Beckwith
                                                      MICHAEL M. BECKWITH
12                                                    Assistant U.S. Attorney
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               Case 2:11-cr-00226-TLN Document 51 Filed 10/21/11 Page 3 of 4



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 7
                              IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF CALIFORNIA
 8

 9

     UNITED STATES OF AMERICA,                         ) No. CR-S-11-226 GEB
10
                                                       )
                                                       )
11          Plaintiff,                                 ) [PROPOSED] ORDER TO
                                                       ) CONTINUE STATUS CONFERENCE
12
     v.                                                )
                                                       )
13
     PATRICIA ALBRIGHT, and,                           )
                                                       )
14   JORDAN WIRTZ,                                     )
                                                       )
15
            Defendants.                                )
                                                       )
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                                                       )
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            The Court, having received, read, and considered the stipulation of the parties, and good

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     cause appearing therefrom, adopts the stipulation of the parties in its entirety as its order. Based

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     on the stipulation of the parties and the recitation of facts contained therein, the Court finds that

22
     it is unreasonable to expect adequate preparation for pretrial proceedings and trial itself within

23
     the time limits established in 18 U.S.C. § 3161. In addition, the Court specifically finds that the

24
     failure to grant a continuance in this case would deny defense counsel to this stipulation

25
     reasonable time necessary for effective preparation, taking into account the exercise of due

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     diligence. The Court finds that the ends of justice to be served by granting the requested

27
     continuance outweigh the best interests of the public and the defendants in a speedy trial.

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                             Case 2:11-cr-00226-TLN Document 51 Filed 10/21/11 Page 4 of 4


                           The Court orders that the time from the date of the parties' stipulation, October 20, 2011,
 1
     to and including December 2, 2011, shall be excluded from computation of time within which
 2
     the trial of this case must be commenced under the Speedy Trial Act, pursuant to 18 U.S.C.
 3
     § 3161(h)(7)(A) and (B)(ii) and (iv), and Local Codes T4 (reasonable time for defense counsel to
 4
     prepare). It is further ordered that the October 21, 2011, status conference shall be continued
 5
     until December 2, 2011, at 9:00 a.m.
 6

 7   IT IS SO ORDERED.
 8
     Date: 10/20/2011
 9
                                                                         _________________________
10                                                                       GARLAND E. BURRELL, JR.
                                                                         United States District Judge
11
     DEAC_Signature-END:




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